Case 1:11-cv-01430-PAB-MEH Document 189 Filed 03/29/12 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



   Civil Action No. 11-CV-01430-PAB-MEH

   UNITED STATES OF AMERICA,

                  Plaintiff,

   v.

   KENNETH SCOTT,

               Defendant.
   ______________________________________________________________________________

                        JOINT STIPULATION FOR DISMISSAL
   ______________________________________________________________________________

          Plaintiff United States of America, through its undersigned counsel, and Defendant

   Kenneth Scott, through his undersigned counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

   stipulate to dismiss this action, with prejudice, each party to pay its own costs and fees.

          Respectfully submitted this 29th day of March, 2012.

   s/ Rebecca R. Messall                                 THOMAS E. PEREZ
   Rebecca R. Messall                                    Assistant Attorney General
   Hackstaff Law Group                                   Civil Rights Division
   1601 Blake Street, Ste. 310
   Denver, Colorado 80202                                JONATHAN SMITH
   Telephone: 303-534-4317                               Chief Special Litigation Section
   Email: rm@hackstafflaw.com
                                                         JULIE K. ABBATE
   s/ Peter C. Breen                                     Deputy Chief
   Peter C. Breen                                        Special Litigation Section
   Marian C. Haney
   Thomas More Society                                   s/ Aaron S. Fleisher
   29 S. LaSalle, Ste. 440                               AARON S. FLEISHER
   Chicago, IL 60603                                     WINSOME GAYLE
   Telephone: 312-782-1680                               Trial Attorneys
   Email: pbreen@thomasmoresociety.org                   U.S. Department of Justice
                                                         Civil Rights Division
   Attorneys for Defendant Ken Scott                     Special Litigation Section
Case 1:11-cv-01430-PAB-MEH Document 189 Filed 03/29/12 USDC Colorado Page 2 of 3




                                           950 Pennsylvania Ave., NW
                                           Washington, DC 20530
                                           Telephone: (202) 307-6457
                                           Facsimile: (202) 514-6903
                                           E-mail: aaron.fleisher@usdoj.gov
                                           Attorneys for Plaintiff United States




                                       2
Case 1:11-cv-01430-PAB-MEH Document 189 Filed 03/29/12 USDC Colorado Page 3 of 3




                                    CERTIFICATE OF SERVICE


          I hereby certify that the foregoing document was filed electronically using the CM/ECF

   system, which will provide notice of such filing to all registered parties.




                                                         /s/ Aaron S. Fleisher_____________
                                                         Aaron Fleisher
                                                         Trial Attorney
                                                         U.S. Department of Justice
                                                         Civil Rights Division
                                                         Special Litigation Section
                                                         950 Pennsylvania Ave., NW
                                                         Washington, DC 20530
                                                         Telephone: (202) 307-6457
                                                         Facsimile: (202) 514-6903
                                                         E-mail: aaron.fleisher@usdoj.gov
